        Case 1:23-cr-00307-LJL          Document 60          Filed 12/29/23    Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
UNITED STATES OF AMERICA,             :
                                      :
v.                                    :
                                      :                         Case No. 23-CR-307 (LJL)
MICHAEL SHVARTSMAN,                   :
GERALD SHVARTSMAN, and                :
BRUCE GARELICK,                       :
                                      :
                                      :
                                                         :
               Defendants.            :
--------------------------------------x

                                      NOTICE OF FILING

        Defendant, MICHAEL SHVARTSMAN, by and through his undersigned counsel, hereby

gives notice of filing the attached, redacted versions of the following Exhibits, that were previously

filed without redaction, appended to the Declaration of Tai H. Park (Dkt. 57):

   1.   Exhibit B [Dkt 57-2],
   2.   Exhibit C [Dkt 57-3],
   3.   Exhibit D [Dkt 57-4],
   4.   Exhibit E [Dkt 57-5],
   5.   Exhibit I [Dkt 57-9],
   6.   Exhibit O [Dkt 57-15], and
   7.   Exhibit P [Dkt 57-16].

These exhibits are intended to replace the previously filed Exhibits to the Declaration of Tai H.
Park, with the corresponding letter identification.
Dated: December 29, 2023                       Respectfully submitted,

                                               By: /s/ TAI H. PARK
                                                   Tai H. Park
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